                   Case 8:25-cv-00951-PX Document 84 Filed 04/16/25 Page 1 of 1
                           APPEAL TRANSMITTAL SHEET (non-death penalty)
 Transmittal to 4CCA of notice of          District:                                     District Case No.:
 appeal filed: 04/16/25
                                            Maryland                                      8:25-cv-00951-PX
 ___ First NOA in Case                     Division:                                     4CCA No(s). for any prior NOA:
 ___
 ✔ Subsequent NOA-same party               Southern                                       25-1345
 ___ Subsequent NOA-new party              Caption:                                      4CCA Case Manager:
 ___ Subsequent NOA-cross appeal           Kilmar Armando Abrego Garcia, et               Cathi Bennett
                                           al.
 ___ Paper ROA      ___ Paper Supp.        v.
  Vols: _______________________            Kristi Noem, et al.
 Other: _______________________
 Exceptional Circumstances: ___ Bail ___ Interlocutory ___ Recalcitrant Witness              ___ Other __________________________
 Confinement-Criminal Case:                Fee Status:
 ___ Death row-use DP Transmittal          ___ No fee required (USA appeal)         ___ Appeal fees paid in full     ___
                                                                                                                      ✔ Fee not paid
 ___ Recalcitrant witness
                                           Criminal Cases:
 ___ In custody
                                           ___ District court granted & did not revoke CJA status (continues on appeal)
 ___ On bond
 ___ On probation                          ___ District court granted CJA & later revoked status (must pay fee or apply to 4CCA)
 Defendant Address-Criminal Case:          ___ District court never granted CJA status (must pay fee or apply to 4CCA)
                                           Civil, Habeas & 2255 Cases:
                                           ___ Court granted & did not revoke IFP status (continues on appeal)
                                           ___ Court granted IFP & later revoked status (must pay fee or apply to 4CCA)
                                           ___ Court never granted IFP status (must pay fee or apply to 4CCA)
 District Judge:                           PLRA Cases:

 Judge Paula Xinis                         ___ Proceeded PLRA in district court, no 3-strike determination (must apply to 4CCA)
                                           ___ Proceeded PLRA in district court, determined to be 3-striker (must apply to 4CCA)
 Court Reporter (list all):
                                           Sealed Status (check all that apply):
                                           ____ Portions of record under seal
                                           ____ Entire record under seal
                                           ____ Party names under seal
                                           ____ Docket under seal
 Coordinator:
 Record Status for Pro Se Appeals (check any applicable):              Record Status for Counseled Appeals (check any applicable):
 ___ Assembled electronic record available upon request                ✔ Assembled electronic record available upon request
                                                                       ___
 ___ Additional sealed record available upon request                   ___ Additional sealed record available upon request
 ___ Paper record or supplement available upon request                 ___ Paper record or supplement available upon request
 ___ No in-court hearings held                                         ___ No in-court hearings held
 ___ In-court hearings held – all transcript on file                   ✔ In-court hearings held – all transcript on file
                                                                       ___
 ___ In-court hearings held – all transcript not on file               ___ In-court hearings held – all transcript not on file
 ___ Other:                                                            ___ Other:



              Stephanie Savoy
Deputy Clerk: ______________________ Phone:___________________
                                           410-962-3928                                  04/16/25
                                                                                    Date:_________________

10/2022
